               IN THE UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
                                                  )
v.                                                )      Criminal No. 3:09-00099
                                                  )      Judge Trauger
                                                  )
[11] ANDRE TERRELL CARTER                         )

                                         ORDER

       It is hereby ORDERED that a hearing will be held on the Petition to Revoke Supervision

(Docket No. 815) on Monday, September 8, 2014, at 1:00 p.m.

       It is so ORDERED.

       ENTER this 21st day of August 2014.


                                                  ________________________________
                                                        ALETA A. TRAUGER
                                                          U.S. District Judge




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